8:12-cr-00282-BCB-MDN         Doc # 136     Filed: 09/26/12    Page 1 of 1 - Page ID # 234



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:12CR282
       vs.                                 )
                                           )                       ORDER
MELISSA ALVAREZ,                           )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO EXTEND PRETRIAL
MOTIONS FILING DEADLINE [135]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 10-day extension. Pretrial
Motions shall be filed by October 19, 2012.

       IT IS ORDERED:

        1.    Defendant's MOTION TO EXTEND PRETRIAL MOTIONS FILING DEADLINE
[135] is granted. Pretrial motions shall be filed on or before October 19, 2012.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

        3.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between September 26, 2012 and
October 19, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 26th day of September, 2012.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
